           Case 2:14-cr-00165-RAJ       Document 146      Filed 07/22/15       Page 1 of 5




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                                                              Judge Richard A. Jones
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 7                         UNITED STATES DISTRICT COURT FOR THE
                             WESTERN DISTRICT OF WASHINGTON
 8
                                       AT SEATTLE
 9
     UNITED STATES OF AMERICA,
10
                                                      NO. CR14-165RAJ
                                 Plaintiff,
11
12
                      v.
                                                      ORDER CONTINUING TRIAL DATE
13
                                                      AND SETTING CASE SCHEDULE
14
     THOMAS BROOKE,
15   CRAIG GREER, and
     KEVIN KOGAN,
16
17
                                  Defendants.
18
19
20
21         The Court, having reviewed the record and files in this case and after a

22 consideration of all relevant information and the circumstances of this case, finds that the
23 ends of justice will best be served by continuing the trial date to January 19, 2016, and
24 orders the parties to comply with the complex case schedule set forth below. The ends of
25 justice outweigh the best interests of the public and the defendants in having the matter
26 brought to trial sooner.
27
28
     SCHEDULING ORDER - 1                                                   UNITED STATES ATTORNEY
                                                                           700 STEWART STREET, SUITE 5220
     CR14-165RAJ                                                             SEATTLE, WASHINGTON 98101
                                                                                   (206) 553-7970
           Case 2:14-cr-00165-RAJ        Document 146       Filed 07/22/15       Page 2 of 5




 1          The Court makes the following findings:
 2          1.     The government and defense counsel have indicated that the discovery in
 3 this case is voluminous and complex; involves the analysis of multiple computer systems
 4 and storage devices; and involves an alleged conspiracy that spanned multiple years.
 5          2.     Based on the foregoing, the Court finds that the ends of justice will best be
 6 served by a continuance of the trial date and outweigh the best interests of the public and
 7 the defendants in a speedy trial, within the meaning of 18 U.S.C. § 3161(h)(7)(A).
 8          3.     The Court further finds that the failure to grant such a continuance in this
 9 case would likely result in a miscarriage of justice because the defendants would be
10 denied the reasonable time necessary for effective preparation, taking into account the
11 exercise of due diligence. 18 U.S.C. § 3161(h)(7)(B)(i) and (iv).
12          4.     The Court further finds, pursuant to 18 U.S.C. § 3161(h)(7)(B)(ii), that the
13 case is unusual and complex, due to the nature of the prosecution, the existence of
14 potentially novel questions of fact or law, the location of witnesses outside of this district,
15 and the volume of discovery, and it therefore would be unreasonable to expect adequate
16 preparation for trial within the time limits established by 18 U.S.C. § 3161, et seq.
17          5.     The Court further finds, pursuant to 18 U.S.C. § 3161(h)(7)(A) and
18 (h)(7)(B)(iv), that the period of delay is reasonable.
19          Any and all period of delay resulting from this continuance, from the date of this
20 order, until the date of the rescheduled trial, shall be excludable time pursuant to Title 18,
21 United States Code, Section 3161(h)(7)(A), for purposes of computation of the time
22 limitations imposed by the Speedy Trial Act, Title 18, United States Code, Section 3161
23 through 3164.
24          It is therefore ORDERED that the Joint Defense Motion to Continue Pretrial
25 Motions Deadline and Trial Date (Dkt. #132) is GRANTED. The trial in this matter is
26 hereby continued from September 14, 2015 to January 19, 2016, at 9:00 a.m., and that the
27 parties shall observe the following case schedule:
28
     SCHEDULING ORDER - 2                                                     UNITED STATES ATTORNEY
                                                                             700 STEWART STREET, SUITE 5220
     CR14-165RAJ                                                               SEATTLE, WASHINGTON 98101
                                                                                     (206) 553-7970
           Case 2:14-cr-00165-RAJ       Document 146        Filed 07/22/15       Page 3 of 5




 1
                               Event                                   Deadline/Date
 2
        Government to provide discovery under Fed. R.
 3      Crim. P. 16(a)(1)(A)-(F) and Local CrR 16(a)(1),         Effective date of this order
 4      with continuing obligation as set forth in Rule 16(c)
 5      Government to provide first preliminary exhibit list
                                                                      August 24, 2015
 6      and exhibits.

 7      Government to provide expert disclosure with Rule
                                                                     September 4, 2015
        16 written summary
 8
 9      Government to provide second preliminary exhibit
                                                                     September 21, 2015
        list and exhibits.
10
11      Deadline to file pretrial motions. Responses due
        October 19, 2015; Reply briefs due October 27;               September 28, 2015
12      Noting Date: October 30, 2015
13
        Status Conference                                        October 2, 2015 at 11 a.m.
14
        Defendants to provide discovery under Rule
15      16(b)(1)(A)-(B), and Local CrR 16(a)(2), with
16      continuing obligation as set forth in Rule 16(c);
        Defendants to provide notice of alibi defense under
17                                                                    October 13, 2015
        Fed. R. Crim. P. 12.1 and/or mental health defense
18      under Fed. R. Crim. P. 12.2; Defendants to provide
        notice of advice of counsel defense and relevant
19      discovery.
20
        Defendants to provide expert disclosure with
21                                                                    October 16, 2015
        Rule 16 written summary
22
        Government to provide FRE 404(b) notices                      October 16, 2015
23
        Defendants to provide notice of objections (other
24      than to relevance) to the admissibility any
                                                                      October 25, 2015
25      documentary exhibits on the government’s
        preliminary exhibit list
26
27      Government to provide rebuttal expert disclosures             October 30, 2015

28
     SCHEDULING ORDER - 3                                                     UNITED STATES ATTORNEY
                                                                             700 STEWART STREET, SUITE 5220
     CR14-165RAJ                                                               SEATTLE, WASHINGTON 98101
                                                                                     (206) 553-7970
             Case 2:14-cr-00165-RAJ     Document 146       Filed 07/22/15       Page 4 of 5




 1
                               Event                                  Deadline/Date
 2
        Status Conference/Motions Hearing                        October 30, 2015 at 9 a.m.
 3
 4      Parties to file motions in limine in addition to any
        motions re: 404(b) and inextricably intertwined
 5      evidence. Responses due December 4, 2015; Reply             November 13, 2015
 6      briefs due December 11, 2015; Noting Date:
        December 11, 2015
 7
        Status Conference/Motions Hearing                       December 18, 2015 at 9 a.m.
 8
 9      Government to produce all summary exhibits and
                                                                    December 28, 2015
        underlying data under Fed. R. Evid. 1006
10
11      Government’s witness list and exhibit list related to
        its case-in-chief; Government to produce Jencks
12      Act, Rule 26.2 and Giglio impeachment materials,            December 29, 2015
13      including information relating to known non-
        testifying declarants under Fed.R.Evid. 806 (if any)
14
        Defendants to produce all summary exhibits and
15
        underlying data under Fed. R. Evid. 1006;
                                                                      January 5, 2016
16      Defendants to provide rebuttal expert witness
        disclosures
17
18      Defendants’ witness list and exhibit list related to
        its case-in-chief; Defendants to produce Jencks Act           January 6, 2016
19      materials
20
        Trial Briefs, Proposed Jury Instructions, Voir Dire,
21                                                                    January 6, 2016
        and Verdict Forms
22
        Pretrial Conference                                      January 8, 2016 at 9 a.m.
23
        Trial                                                    January 19, 2016 at 9 a.m.
24
       ///
25
26     ///
27     ///
28
     SCHEDULING ORDER - 4                                                    UNITED STATES ATTORNEY
                                                                            700 STEWART STREET, SUITE 5220
     CR14-165RAJ                                                              SEATTLE, WASHINGTON 98101
                                                                                    (206) 553-7970
           Case 2:14-cr-00165-RAJ       Document 146       Filed 07/22/15       Page 5 of 5




 1         IT IS FURTHER ORDERED that the period of time from the date of this order, up
 2
     to and including the new trial date of January 19, 2016, shall be excludable time under
 3
     the Speedy Trial Act, 18 U.S.C. § 3161 et.seq.
 4
 5         DATED this 22nd day of July, 2015.
 6
 7
 8
                                                      A
                                                      The Honorable Richard A. Jones
 9                                                    United States District Judge
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     SCHEDULING ORDER - 5                                                    UNITED STATES ATTORNEY
                                                                            700 STEWART STREET, SUITE 5220
     CR14-165RAJ                                                              SEATTLE, WASHINGTON 98101
                                                                                    (206) 553-7970
